      Case 3:23-cv-01148-CRB Document 15-1 Filed 06/07/23 Page 1 of 5



 1   DAVID R. EBERHART (S.B. #195474)
     deberhart@omm.com
 2   O’MELVENY & MYERS LLP
     Two Embarcadero Center
 3   28ᵗʰ Floor
     San Francisco, California 94111-3823
 4   Telephone: +1 415 984 8700
     Facsimile:    +1 415 984 8701
 5
     SCOTT W. PINK (S.B. #122383)
 6   spink@omm.com
     2765 Sand Hill Road
 7   Menlo Park, California 94025-7019
     Telephone: +1 650 473 2600
 8   Facsimile:    +1 650 473 2601f
 9   Attorneys for Plaintiff Trader Joe’s Company
10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
12
     TRADER JOE’S COMPANY, a California             Case No. 3:23-cv-01148-CRB
13   corporation,
                                                    DECLARATION OF DAVID R.
14                        Plaintiff,                EBERHART IN SUPPORT OF TRADER
                                                    JOE’S EX PARTE MOTION FOR
15          v.                                      PERMISSION TO EFFECT SERVICE OF
                                                    PROCESS BY ALTERNATIVE MEANS
16   DESERTCART TRADING FZE, a United               AND EXTENSION OF TIME TO SERVE
     Arab Emirates company, PIFFERT INC., a         DEFENDANT DESERTCART TRADING
17   Delaware corporation, and DOES 1-5,            FZE
18                        Defendants.               Date:    June 16, 2023
                                                    Time:    10:00 a.m.
19
                                                    Judge:   Hon. Charles R. Breyer
20

21

22

23

24

25

26

27

28
                                                                              DECLARATION OF
                                                                            DAVID R. EBERHART
                                                                               23-CV-01148-CRB
      Case 3:23-cv-01148-CRB Document 15-1 Filed 06/07/23 Page 2 of 5



 1                            DECLARATION OF DAVID R. EBERHART
 2   I, David R. Eberhart, declare as follows:
 3          1.      I am over 18 years of age and make this declaration based upon personal
 4   knowledge of facts set forth below except as to those matters stated on information and belief. As
 5   to those matters, I am informed and believe them to be true. If called upon to testify, I could and
 6   would testify under oath to the matters set forth herein.
 7          2.      I am an attorney licensed to practice law under the laws of the State of California
 8   and am a partner with the law firm O'Melveny & Myers LLP, attorneys for Plaintiff Trader Joe’s
 9   Company (“Trader Joe’s”) in this matter. This declaration is filed in support of Trader Joe’s
10   Motion to Serve Defendant DesertCart Trading FZE (“DesertCart”) by Alternative Means, filed
11   contemporaneously with this declaration.
12          3.      On information and belief, DesertCart operates websites at
13   <https://www.desertcart.ae/>; <https://www.ar-aedesertcart.com/>; <https://www.desertcart.co/>;
14   and <https://www.desertcart.sc/>. These websites are substantially identical to DesertCart’s
15   website at <https://www.desertcart.us/>.
16          4.      DesertCart offers on its websites to sell and deliver Trader Joe’s products. For
17   example, a true and correct copy of a web printout of the search results for “Trader Joe’s” on
18   DesertCart’s <https://www.desertcart.ae/> website is attached hereto as Exhibit A.
19          5.      Trader Joe’s does not authorize DesertCart, or any third party, to sell online or
20   deliver Trader Joe’s products.
21          6.      DesertCart’s websites do not identify a physical contact address. Instead, they
22   direct users to contact DesertCart by email at support@desertcart.com, by phone, or by live chat.
23   A true and correct copy of a printout of the “About DesertCart – Customer Support” webpage
24   from <https://www.desertcart.us/> is attached hereto as Exhibit B.
25          7.      Whois domain registration records for the domain <https://www.desertcart.us/>
26   show that the domain is registered to Rahul Swaminathan. A true and correct copy of a printout of
27

28
                                                                                      DECLARATION OF
                                                     -2-                            DAVID R. EBERHART
                                                                                       23-CV-01148-CRB
      Case 3:23-cv-01148-CRB Document 15-1 Filed 06/07/23 Page 3 of 5



 1   the Whois domain registration records for <https://www.desertcart.us/> is attached hereto as
 2   Exhibit C.
 3          8.      On or around July 18, 2022, and August 22, 2022, at my direction, my colleagues
 4   at O’Melveny sent cease and desist letters to DesertCart via email at the email address
 5   support@desertcart.com, demanding DesertCart stop its unlawful activities. DesertCart never
 6   responded to these emails.
 7          9.      On December 17, 2022, at my direction, my colleague Maggie Vuong sent a cease
 8   and desist letter on my behalf to DesertCart via email at the email address
 9   support@desertcart.com. This letter informed DesertCart that Trader Joe’s intended to sue
10   DesertCart in this Court and enclosed a draft copy of the Complaint. A true and correct copy of
11   this December 17, 2022, email is attached hereto as Exhibit D at pp. 3-4. A true and correct copy
12   of the cease and desist letter is attached hereto as Exhibit E.
13          10.     On December 20, 2022, DesertCart responded from the support@desertcart.com
14   email address. I was copied on this response. DesertCart’s response acknowledged Trader Joe’s
15   claims of trademark infringement and DesertCart’s receipt of Trader Joe’s letter enclosing the
16   Complaint. The letter further stated: “We'd like to help you further, please send an email to our
17   legal department for any legitimate legal claims to our legal department at legal@desertcart.com.”
18   A true and correct copy of DesertCart’s December 20, 2022, response is attached hereto as
19   Exhibit D at pp. 2-3.
20          11.     Later on December 20, 2022, at my direction, Maggie Vuong sent the cease and
21   desist letter on my behalf via email to DesertCart at legal@desertcart.com, per DesertCart’s
22   instructions. A true and correct copy of this December 20, 2022, email is attached hereto as
23   Exhibit D at pp. 1-2. DesertCart never responded to this email.
24          12.     On January 19, 2023, at my direction, my colleague Katie Gosewehr sent another
25   copy of the cease and desist letter on my behalf to DesertCart via email at the email address
26   legal@desertcart.com, and demanded again that DesertCart stop its unlawful activities. A true and
27

28
                                                                                      DECLARATION OF
                                                      -3-                           DAVID R. EBERHART
                                                                                       23-CV-01148-CRB
      Case 3:23-cv-01148-CRB Document 15-1 Filed 06/07/23 Page 4 of 5



 1   correct copy of this January 19, 2023, email is attached hereto as Exhibit D at p. 1. DesertCart
 2   never responded to this email.
 3          13.     None of the emails sent by my colleagues to support@desertcart.com or
 4   legal@desertcart.com resulted in a bounce-back message or other indication that the emails had
 5   not been delivered.
 6          14.     On or around March 10, 2023, at my direction, my colleagues at O’Melveny
 7   accessed and downloaded the business information profile for Piffert from the New Hampshire
 8   Secretary of State website. A true and correct copy of this business information for Piffert is
 9   attached hereto as Exhibit F.
10          15.     On March 17, 2023, at my direction, O’Melveny’s service of process vendor
11   attempted to serve DesertCart by way of its CEO, Mr. Swaminathan, at 19 Lukens Drive Suite
12   300, New Castle, DE 19720. Service was unsuccessful. According to the process server, the
13   business manager located at this address informed him that Mr. Swaminathan does not live in the
14   state and does not come into the office located at this address. A true and correct copy of the
15   process server’s report is attached hereto as Exhibit G.
16          16.     On or around March 23, 2023, at my direction, my colleagues at O’Melveny ran
17   investigation reports on Mr. Swaminathan using the investigation services SkopeNow, Accurint,
18   and idiCore. True and correct copies of these SkopeNow, Accurint, and idiCore reports are
19   attached hereto as Exhibits H, I, and J, respectively.
20          17.     On March 24, 2023, at my direction, O’Melveny’s service of process vendor
21   attempted to serve DesertCart by way of its CEO, Mr. Swaminathan, at: (1) Harvey Mudd
22   College, 301 Platt Blvd, Claremont, CA 91711; (2) 1 Industrial Park Dr Unit 9, Pelham, NH
23   03076; and (3) 340 S Lemon Avenue, Apartment #1038, Walnut, CA 91789. Service attempts on
24   Mr. Swaminathan at these addresses were unsuccessful. A true and correct copy of the process
25   servers’ reports for these service attempts is attached hereto as Exhibit K.
26          18.     On April 18, 2023, at my direction, O’Melveny retained a private investigator
27   determine Mr. Swaminathan’s current address.
28
                                                                                      DECLARATION OF
                                                      -4-                           DAVID R. EBERHART
                                                                                       23-CV-01148-CRB
      Case 3:23-cv-01148-CRB Document 15-1 Filed 06/07/23 Page 5 of 5



 1          19.     On April 21, 2023, the private investigator provided a status report of his
 2   investigation of Mr. Swaminathan. A true and correct copy of that April 21, 2023, report is
 3   attached hereto as Exhibit L.
 4          20.     On April 27, 2023, the private investigator provided another status report of his
 5   investigation of Mr. Swaminathan. A true and correct copy of that April 21, 2023, report is
 6   attached hereto as Exhibit M.
 7          I declare under penalty of perjury under the laws of the United States of America that the
 8   foregoing is true and correct, and was executed on June 7, 2023 at San Francisco, California.
 9

10                                               By: /s/ David R. Eberhart
                                                    David R. Eberhart
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                      DECLARATION OF
                                                    -5-                             DAVID R. EBERHART
                                                                                       23-CV-01148-CRB
